

ORDER

PER CURIAM:
AND NOW, this 20th day of February, 2001, Andrea Yvette Prince having been indefinitely suspended from the practice of law before naval tribunals and also having been indefinitely suspended from providing individual legal assistance in the Department of the Navy by Order of the Judge Advocate General of the Navy dated April 26, 2000; the said Andrea Yvette Prince having been directed on November 17, 2000, to inform this Court of any claim she has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and upon consideration of the responses filed, it is
ORDERED that Andrea Yvette Prince is suspended from the practice of law in this Commonwealth consistent with the Order of the Judge Advocate General of the Navy dated April 26, 2000, and she shall comply with all the provisions of Rule 217, Pa.R.D.E.
